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   Respectfully submitted, this 19th day of December, 2023.

                                              By: /s/ Simone Chriss
                                              Counsel for Plaintiffs




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                          CERTIFICATE OF SERVICE

      I hereby certify that, on December 19, 2023, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system.


                                                            /s/ Simone Chriss
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